

Matter of Aisaka (2019 NY Slip Op 06134)





Matter of Aisaka


2019 NY Slip Op 06134


Decided on August 8, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: August 8, 2019
[*1]
In the Matter of DANIEL JUSTIN AISAKA, an Attorney.
 
(Attorney Registration No. 5337779)

Calendar Date: July 29, 2019

Before: Garry, P.J., Egan Jr., Lynch, Rumsey and Pritzker, JJ.


Daniel Justin Aisaka, Fresno, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Daniel Justin Aisaka was admitted to practice by this Court in 2015 and lists a business address in Fresno, California with the Office of Court Administration. Aisaka now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Aisaka's application.
Upon reading Aisaka's affidavit sworn to June 14, 2019 and filed June 17, 2019, and upon reading the July 23, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Aisaka is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Rumsey and Pritzker, JJ., concur.
ORDERED that Daniel Justin Aisaka's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Daniel Justin Aisaka's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Daniel Justin Aisaka is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Aisaka is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Daniel Justin Aisaka shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








